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                                                                                      August 24, 2022

                                                                                  CLERK, U.S. DISTRICT COURT
                             UNITED STATES DISTRICT COURT                         WESTERN DISTRICT OF TEXAS
                                  WESTERN DISTRICT OF TEXAS                           By:        CR
                                                                                                       Deputy
                                       DEL Rio
                                       Del RIO DIVISION
                                                                             DR:22-CR-01883-AM
UNITED STATES OF AMERICA                         §       CAUSE NO.:
                                                 §
                                                 §
v.                                               §       INDIC TMENT
                                                 §
                                                 §
CIERRA OLMOS   1 ,                               §       (a)(1)(A)(v)(I) &    (B)(i) Conspiracyto Transport Illegal Ali
JESUS IVAN VALADEZ          2 .                  §
                                                 §
                                                 §       FORFEITURE




THE GRAND JURY CHARGES:

                                          COUNT ONE
                             [8 U.S.C. § 1324(a)(1)(A)(v)(I) & (B)(i)]

                                                                      Defendants,

                                        CIERRA OLMOS,
                                     JESUS IVAN VALADEZ,

did knowingly and intentionally combine, conspire, confederate and agree with others known and

unknown, to commit the following offense against the United States: to transport and move, and

attempt to transport and move, by means of transportation or otherwise, aliens who entered and

remained in the United States in violation of law, knowing and in reckless disregard of the fact

said aliens came to, entered, and remained in the United States in violation of law, and in

furtherance of such violation of law, in violation of Title 8, United States Code, Section

1324(a)(1)(A)(v)(I) and (B)(i).
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    NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                        [See Fed. R. Crim. P. 32.2]

                                                I.
                         Immigration Violations and Forfeiture Statute
                          [Title 8 U.S.C. § 1324(a)(1)(A)(v)(I) & (B)(i),
                subject to forfeiture pursuant to Title 18 U.S.C. § 982(a)(6)(A)]

        As a result of the foregoing criminal violations set forth in Count One, the United States of

America gives notice to the Defendants of its intent to seek the forfeiture of property, including

any items listed below, upon conviction and as a part of sentence pursuant to Fed. R. Crim. P. 32.2

and Title 18 U.S.C. § 982(a)(6)(A) which states the following:

   Title 18 U.S.C. § 982 Criminal forfeiture
       (a)(6)(A) The court, in imposing sentence on a person convicted of a violation of, or
       conspiracy to violate, section 274(a) . . . of the Immigration and Nationality Act . . .
       shall order that the person forfeit to the United States, regardless of any provision of
       State law―
           (i) any conveyance, including any vessel, vehicle, or aircraft used in the
               commission of the offense of which the person is convicted; and
           (ii) any property real or personal―
               (I) that constitutes, or is derived from or is traceable to the proceeds obtained
               directly or indirectly from the commission of the offense of which the person is
               convicted; or
               (II) that is used to facilitate, or is intended to be used to facilitate, the
               commission of the offense of which the person is convicted.

This Notice of Demand for Forfeiture includes but is not limited to the following properties.


   1. Ruger LC9, 9mm pistol, s/n 321-05864;
   2.   9mm magazine;
   3.   7 rounds 9mm ammunition; and
   4. Any other related ammunition and firearm accessories.
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ASHLEY C. HOFF
United States Attorney



By:
      ZACHARY D. BIRD / ALEXANDER BROWN
      Assistant United States Attorney
